Case 7:22-cv-06283-VB-JCM Document 63 Filed 03/28/25 Page1of1

UNITED STATES DISTRICT COURT
The Charles L. Brieant, Jr.
Federal Building and United States Courthouse
360 Quarropas St.
White Plains, New York 10601
(914) 390-4124

Chambers of
Hon, Judith C. McCarthy
United States Magistrate Judge

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---- ee ee eee ee ee ee ee x

JOSEPH A, BROOKS,

Plaintiff, SCHEDULING ORDER

-against- 22 Civ. 6283 (VB)(ICM)

STATE TROOPER TIMOTHY FINNEGAN, ef al,

Defendants.

The Court has scheduled a Telephone Conference for April 9, 2025 at 10:00 a.m. before
Magistrate Judge Judith C. McCarthy. The parties shall call the following number at the time of

the conference:

Toll-Free Number: 855-244-8681
Access Code: 1800490580

Dated: March 28, 2025
White Plains, New York

SO ORDERED:

‘
a a i “ A eo
peng 8 on fo wee Oe
OO eind cc (FE ET eed Kan 4

JUDITH C. MeCARTHY
United States Magistrate Judge

